                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                              No. CR09-3033-MWB
 vs.                                         ORDER ACCEPTING MAGISTRATE
                                                 JUDGE’S REPORT AND
 MARK RICHARDSON,                            RECOMMENDATION REGARDING
                                               DEFENDANT’S GUILTY PLEA
               Defendant.

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                      I. INTRODUCTION AND BACKGROUND
        On July 23, 2009, an indictment was returned against defendant Mark Richardson,
charging defendant with conspiring to distribute 500 grams or more of methamphetamine,
having previously been convicted of a felony drug offense, in violation of 21 U.S.C.
§§ 841(a)(1), 841(b)(1)(A), 846, and 851, possessing with intent to distribute more than
50 grams or more of methamphetamine, having previously been convicted of a felony drug
offense, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B), and 851, distributing and
aiding and abetting in the distribution of approximately 7 grams of methamphetamine,
having previously been convicted of a felony drug offense, in violation of 21 U.S.C.
§§ 841(a)(1), 841(b)(1)(C), and 851, and distributing and aiding and abetting in the
distribution of approximately 3.5 grams of methamphetamine, having previously been
convicted of a felony drug offense, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C),
and 851. On April 26, 2010, defendant appeared before Chief United States Magistrate
Judge Paul A. Zoss and entered a plea of guilty to Counts 1, 3 and 5 of the Indictment.
On this same date, Judge Zoss filed a Report and Recommendation in which he



       Case 3:09-cr-03033-LTS-KEM     Document 57      Filed 05/11/10   Page 1 of 3
recommends that defendant’s guilty plea be accepted. No objections to Judge Zoss’s
Report and Recommendation were filed. The court, therefore, undertakes the necessary
review of Judge Zoss’s recommendation to accept defendant’s plea in this case.


                                    II. ANALYSIS
      The court reviews the magistrate judge’s report and recommendation pursuant to
the statutory standards found in 28 U.S.C. § 636(b)(1):
             A judge of the court shall make a de novo determination of
             those portions of the report or specified proposed findings or
             recommendations to which objection is made. A judge of the
             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate judge.
             The judge may also receive further evidence or recommit the
             matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1) (2006); see Fed. R. Civ. P. 72(b) (stating identical requirements);
N.D. IA. L.R. 7.1 (allowing the referral of dispositive matters to a magistrate judge but
not articulating any standards to review the magistrate judge’s report and
recommendation). While examining these statutory standards, the United States Supreme
Court explained:
             Any party that desires plenary consideration by the Article III
             judge of any issue need only ask. Moreover, while the statute
             does not require the judge to review an issue de novo if no
             objections are filed, it does not preclude further review by the
             district judge, sua sponte or at the request of a party, under a
             de novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any
issue in a magistrate judge’s report and recommendation at any time. Id. If a party files
an objection to the magistrate judge’s report and recommendation, however, the district


                                            2


    Case 3:09-cr-03033-LTS-KEM        Document 57       Filed 05/11/10    Page 2 of 3
court must “make a de novo determination of those portions of the report or specified
proposed findings or recommendations to which objection is made.”                  28 U.S.C.
§ 636(b)(1). In the absence of an objection, the district court is not required “to give any
more consideration to the magistrate’s report than the court considers appropriate.”
Thomas, 474 U.S. at 150.
       In this case, no objections have been filed. As a result, the court has reviewed the
magistrate judge’s report and recommendation under a clearly erroneous standard of
review. See Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (noting when no
objections are filed and the time for filing objections has expired, “[the district court judge]
would only have to review the findings of the magistrate judge for clear error”); Taylor
v. Farrier, 910 F.2d 518, 520 (8th Cir. 1990) (noting the advisory committee’s note to
Fed. R. Civ. P. 72(b) indicates “when no timely objection is filed the court need only
satisfy itself that there is no clear error on the face of the record”). After conducting its
review, the court is not “‘left with [a] definite and firm conviction that a mistake has been
committed,’” and finds no reason to reject or modify the magistrate judge’s
recommendation. Anderson v. City of Bessemer City, 470 U.S. 564, 573-74 (1985)
(quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395 (1948)). Therefore, the
court accepts Judge Zoss’s Report and Recommendation of April 26, 2010, and accepts
defendant’s plea of guilty in this case to Counts 1, 3 and 5 of the Indictment.
       IT IS SO ORDERED.
       DATED this 11th day of May, 2010.


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                                                   MARK W. BENNETT
                                                   U. S. DISTRICT COURT JUDGE
                                                   NORTHERN DISTRICT OF IOWA

                                               3


    Case 3:09-cr-03033-LTS-KEM           Document 57       Filed 05/11/10     Page 3 of 3
